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         UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY
       [TRENTON DIVISION]
       Caption in Compliance with D.N.J. LBR 9004-1(b)

       770306
       PHELAN HALLINAN DIAMOND & JONES, PC
       400 Fellowship Road, Suite 100
       Mt. Laurel, NJ 08054
       856-813-5500
       Attorneys for WELLS FARGO BANK, N.A.
         In Re:                                                               Case No: 16-11312 - KCF

       CHRISTINE B SHEEHAN                                                    Hearing Date: 07/12/2016
       RAFAEL C AGLIATA
                                                                              Judge: KATHRYN C. FERGUSON

                                                                              Chapter: 7


                                        CERTIFICATION OF PARTICIPANT
                                             REGARDING MOTION FOR RELIEF


             I HEREBY CERTIFY that with respect to the copy of the captioned Motion for Relief submitted to
      the Court, the following conditions have been met:

(a)   The Affiant has acknowledged the genuineness of the original signature;

(b) The original document was executed in completed form prior to facsimile transmission;

(c)    The document or a copy with an original signature affixed to it will be obtained by the Participant within seven
      business days after the date the document or pleading with the facsimile signature was electronically filed with the
      Court; and

(d) In accordance with the Court’s Administrative Procedures for Filing, Signing, and Verifying Documents by Electronic
    Means (collectively, the “Administrative Procedures”), at paragraph II C.2, the document containing the original
    signature will be maintained in paper form by the Participant for a period not less than seven years from the date of
    closure of the case or proceeding in which the document is filed; and that upon required the original document must be
    provided to other parties or the Court for review.


                                                            /s/ John Schneider
                                                            John Schneider, Esq.
                                                            Phelan Hallinan Diamond & Jones, PC
                                                            400 Fellowship Road, Suite 100
                                                            Mt. Laurel, NJ 08054
                                                            Tel: 856-813-5500 Ext. 7367
                                                            Fax: 856-813-5501
                                                            Email: john.schneider@phelanhallinan.com
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   UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 [TRENTON DIVISION]
 Caption in Compliance with D.N.J. LBR 9004-1(b)

 770306
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 Mt. Laurel, NJ 08054
 856-813-5500
 Attorneys for WELLS FARGO BANK, N.A.
   In Re:                                                      Case No: 16-11312 - KCF

 CHRISTINE B SHEEHAN                                           Hearing Date: 07/12/2016
 RAFAEL C AGLIATA
                                                               Judge: KATHRYN C.
                                                               FERGUSON

                                                               Chapter: 7


 CERTIFICATION OF John Schneider, Esq., ATTORNEY FOR WELLS FARGO BANK,
            N.A., REGARDING CALCULATION OF AMOUNT DUE
                 (NOTE AND MORTGAGE DATED 12/23/2003)

   John Schneider, Esq., attorney for WELLS FARGO BANK, N.A., hereby certifies the following:



Recorded on December 30, 2003, in MERCER County, in Book 08469, Page 0435

Property Address: 44 MARTIN LANE, HAMILTON, NJ 08619

Mortgage Holder: WELLS FARGO BANK, N.A.


I. PAYOFF STATEMENT***

Unpaid Principal Balance                                                            $ 266,959.09
Accrued Interest from 12/01/2012 to 04/16/2015                                      $ 18,557.65
       (Interest rate = Variable per year, $N/A per day x N/A days)
Unearned interest from N/A to N/A:                                                  $ 0.00
Per diem interest from N/A to N/A:                                                  $ 0.00
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Late Charges from 01/01/2013 to 09/12/2013 (71.27 /mo. X 3 mos.)                                 $ 213.81
Attorney’s fees and costs as of 08/28/2015                                        :              $ 3,268.90
Advances through 04/16/2015                                                for:
                    Real Estate Taxes:                                                            $ 22,464.04
                    Insurance Premiums:                                                           $ 4,180.00
                    Other:                                                                        $ 0.00
                    Sub-Total of Advances:                                                        $ 26,644.04
                    Less Escrow Monies:                                                          ($ 485.00)
                    Net Advances:                                                                 $ 26,159.04

Interest on advances from N/A to N/A:                                                            $0.00
Other charges (specify)                                                                          $0.00
Less unearned interest                                                                           ($0.00            )
                    TOTAL DUE AS OF 08/28/2015:                                                  $315,158.49
                    Date of last payment 12/23/2012


II. EQUITY ANALYSIS (When appropriate)

                                                                                                                       *
Estimated fair market value of real estate as of 03/17/2016:                                      $ 385,000.00

*Source: BPO (e.g. appraisal, tax bill/assessment, contract of sale, debtor’s schedules, etc.)
Liens on the real estate:
       1. Real estate taxes as of 04/16/2015:                                                     $ 22,464.04
       2. First Mortgage (principal and interest), as of 04/16/2015:                              $ 285,516.74
       3. Second Mortgage (principal and interest), as of 01/26/2016:                             $ 247,368.00
   4. Other (10% Cost of Sale):                                                                   $ 38,500.00
TOTAL LIENS:
                                                                                                 ($593,848.78)
APPARENT EQUITY AS OF 03/17/2016:                                                                                      **
                                                                                                  $0.00
**If negative, insert zero (0)
*** Payoff figures calculated using Exhibits A, B, and C.

I certify under penalty of perjury that the foregoing is true and correct.


Dated: June 10, 2016
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                                 /s/ John Schneider
                                 John Schneider, Esq.
                                 Phelan Hallinan Diamond & Jones, PC
                                 400 Fellowship Road, Suite 100
                                 Mt. Laurel, NJ 08054
                                 Tel: 856-813-5500 Ext. 7367
                                 Fax: 856-813-5501
                                 Email: john.schneider@phelanhallinan.com
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                                 Exhibit A
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                                 Exhibit B
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                                 Exhibit C
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                                                           BROKER’S PRICE OPINION




                                                                                                    Freddie Mac Loan #
                 Exterior /Curb Side ✘                    Inspection Date 03/15/2016                Servicer Loan #
                             Interior
            Interior Access Denied                      Reason                                                      BPO # 44343515
  BPO Firm Name                                              Broker                                                          Phone
                             JOE
    PREFERRED PROPERTIES GROUP                                         EVANGELISTI                                           (856) 685-5617
                                                          SUBJECT PROPERTY DESCRIPTION
  Property Address                                                                                                           Unit #
                     44 MARTIN LANE
  City                                                       County                         State                            Zip
         HAMILTON                                                                                   NJ                             08619
  Is property currently listed for sale with a real estate firm?      Name of Listing Broker, Salesperson or Firm            Phone
      Yes     ✘ No
  Property Type: Single Family                                                                                               Condo Fee $      0

  Occupant:        ✘ Owner             Tenant            Vacant

                                                Estimate of repairs needed for subject property
  Interior:                                                              Exterior:
         Painting                             $0                                      Painting     $                               0
         Structural                            $ 0                                     Structural  $                               0
         Appliances                            $ 0                                     Landscaping $                               0
         Utilities                             $ 0                                     Roof        $                               0
         Carpet/Floors                         $ 0                                     Windows     $                               0
         Other                                 $0                                      Other       $                               0
   Cleaning/Trash Removal                     $ 0                         Do you recommend repairs?                                     Yes         ✘     No
                                                    Repairs Total: $ 0.00


  Overall Property Condition:             Excellent       ✘ Good    Fair      Poor
  Are there any items that require IMMEDIATE attention/action?   Yes     ✘  No
  Title/Legal Issues?               Yes ✘ No
  Do any environmental issues affect the value of the property?   Yes     ✘ No
  If yes to any of the above, please explain:
  AS PER RECORD, THERE ARE NO RECORDED UPGRADES/UPDATES IN COUNTY TAX RECORD OR MLS.\N




                                                                    NEIGHBORHOOD
  Property Values:     Increasing     ✘ Stable  Declining Predominant Occupancy ✘ Owner                    Tenant
  Marketing Time:       Under 3 Mos. ✘ 3-6 Mos. Over 6      Vacancy Rate        ✘ 0-5%       5-10%     10-20%     20% +
  Mos.
  No. of Active Listings in Neighborhood: 8      Price Range of Active Listings in Neighborhood:$ 360000 to $ 400000
  COMMENTS SUBJECT IS IN AVERAGE CONDITION AND CONFORMS TO NEIGHBORHOOD CHARACTERISTICS,
                REO AND SHORT SALE ARE PRESENT IN AREA BUT NEIGHBORHOOD IS NOT REO DRIVEN.
                PROPERTY VALUES IN SUBJECT AREA IS AS PER COMPARABLE SEARCH.\N




                                                                  VALUE ESTIMATION
         Probable Sale Price                    90-Day Marketing Time
                                                                   120-Day Marketing Time        180-Day Marketing Time
                            As Is              385000                     385000                        385000
                     As Repaired               385000                     385000                        385000
  Property should be listed: As Is: ✘        As Repaired:
  Anticipated Seller-Paid Financing Costs: $ 0
  COMMENTS: (Describe your marketing strategy and reasons for As Is/As Repaired recommendations)
  THE MARKET PRICE OPINION AS OF TODAY IS $385000. THE TYPICAL MARKETING TIME IS 120 DAYS.




              /S/ JOE EVANGELISTI
  PREPARED BY:_________________________________
                                            Signature                                                    Date   03/17/2016
  7+,6,6$123,1,212)35,&(25&203$5$7,9(0$5.(7$1$/<6,6$1',6127$1$335$,6$/7KLVRSLQLRQGRHVQRWDGKHUH
  WRWKHJXLGHOLQHVIRUGHYHORSPHQWRIDQDSSUDLVDORUDQDO\VLVFRQWDLQHGLQWKH8QLIRUP6WDQGDUGVRI3URIHVVLRQDO$SSUDLVDO3UDFWLFHRIWKH$SSUDLVDO)RXQGDWLRQ
  7KLVRSLQLRQPD\KDYHEHHQGHYHORSHGLQFRQQHFWLRQZLWKDORVVPLWLJDWLRQUHTXHVWPDGHE\\RX,IVRWKLVRSLQLRQLVEHLQJSURYLGHGWR\RXRQEHKDOIRI\RXU
  VHUYLFHUDQGWKH)HGHUDO+RPH/RDQ0RUWJDJH&RUSRUDWLRQ<RXUVHUYLFHUPD\KDYHDOVRXVHGDGLIIHUHQWRUDGGLWLRQDOSURSHUW\YDOXHRUSULFHWRPDNHDORVV
  PLWLJDWLRQGHFLVLRQ,I\RXKDYHTXHVWLRQVSOHDVHYLVLW)UHGGLH0DF¶VZHEVLWHDWKWWSZZZIUHGGLHPDFFRPYDOXDWLRQ
Case 16-11312-KCF                         Doc 48-2 Filed 06/10/16 Entered 06/10/16 17:45:05                                                           Desc
                                             Supporting Docs LISTINGS
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           ITEM                  SUBJECT       COMPARABLE NO. 1 COMPARABLE NO. 2                                             COMPARABLE NO. 3
  Address              44 MARTIN LANE        20 CAVALIER DR            56 DEACON DR                                        17 EMILY PL
  Proximity to Subject                       3/4 Miles                  3/4 Miles                                          2 Miles
  Current List Price   $                      $ 377000                  $ 384900                                            $ 399900
  Current List Date                           03/03/2016                03/14/2016                                         03/15/2016
  Original List Price  $                      $ 377000                  $ 384900                                            $ 399900
  Original List Date                          02/25/2016                03/14/2016                                          12/09/2015
  VALUE ADJUSTMENTS (Use the following codes for the adjustments: S=Superior E=Equal I=Inferior                            U=Unknown)
      DESCRIPTION            DESCRIPTION       DESCRIPTION ADJ DESCRIPTION ADJ                                               DESCRIPTION ADJ
  Above Grade          Total # of Rooms 11    Total # of Rooms 9       Total # of Rooms 12                                  Total # of Rooms 10
  Room Count           Bdrm 4                 Bdrm 4                   Bdrm 4                                              Bdrm    4
                       Baths 2.5              Baths 2.5                Baths 2.5                                           Baths
                                                                                                                                   2.5
                                         Sq. Ft. 2795              Sq. Ft. 2752              Sq. Ft. 2524                          Sq. Ft. 2532
  Gross Living Area                                                                 Code                        Code                              Code
  Location                         FAIR                      FAIR                   E    FAIR                   E          FAIR                   E
  Site/Lot Size                    0.35AC                    0.40AC                 E    0.48AC                 E          0.23AC                 E
  Design and Appeal                SINGLE FAMILY             SFD                    E    SFD                    E          SFD                    E
  Age (number of yrs.              26                        31                     E      40                   I                                 E
                                                                                                                            16
  since house was built)
  Overall Condition                Good                      Good                   E      Good                 E           Good                  E
  Garage/Carport                   2 Attached                2 Attached             E      2 Attached           E           2 Detached            E
  Porch, Patio Deck, Pool, Fence    FIREPLACE                0                      E      0                    E           0                     E
  Overall Rating/Est.$
                                                             0                      E      1400                 I           0                     E
  Value of Adjustments
  Indicate Property Most Comparable to Subject (Check One)                   ✘
  COMMENTS: 1)SIMILAR IN STYLE AND LOCATED IN SAME AREA.2)COMPARABLE IS INFERIOR IN AGE. LOCATED
            IN SAME AREA.3)SIMILAR IN STYLE, SUPERIOR IN AGE.




                                                                 CLOSED SALES
             ITEM                       SUBJECTCOMPARABLE NO. 1          COMPARABLE NO. 2 COMPARABLE NO. 3
  Address                          44 MARTIN LANE
                                             4 VALLEY RD               15 MORO DR                178 APPLEGATE DR
  Proximity to Subject                       5+ Miles                  5+ Miles                  5+ Miles
  Original List Price  $                      $ 399900                  $ 385000                  $ 424900
  List Price When Sold $                      $ 399000                  $ 385000                  $ 410000
  Sales Price          $                      $ 370000                  $ 380000                  $ 390000
  Sales Date                                  02/17/2016                09/18/2015                09/28/2015
  Days on Market                              61                        22                       142
  VALUE ADJUSTMENTS (Use the following codes for the adjustments: S=Superior E=Equal I=Inferior U=Unknown)
       DESCRIPTION           DESCRIPTION       DESCRIPTION ADJ DESCRIPTION                 ADJ DESCRIPTION ADJ
  Above Grade          Total # of Rooms 11    Total # of Rooms 9       Total # of Rooms 10       Total # of Rooms9
  Room Count           Bdrm   4               Bdrm    4                Bdrm      4               Bdrm 4
                       Baths 2.5              Baths 1.5                Baths 2.5                 Baths 2.5

                                         Sq. Ft. 2795              Sq. Ft.   2700                Sq. Ft. 2658                    Sq. Ft. 2716
  Gross Living Area                                                                 Code                            Code                          Code
  Sales or Financing                                                                E                               E
                                                             0                             0                                0                     E
  Concessions
  Location                         FAIR                      FAIR                   E      FAIR                     E       FAIR                  E
  Site/Lot Size                    0.35AC                    0.86AC                 S      0.22AC                   E       0.37AC                E
  Landscaping                      Fair                      Fair                   E      Fair                     E       Fair                  E
  Design and Appeal                SINGLE FAMILY             SFD                    E      SFD                      E       SFD                   E
  Age (number of yrs.                                        35                     E       37                      I                              E
                                   26                                                                                       22
  since house was built)
  Overall Condition                Good                      Good                   E       Good                    E       Good                  E
  Garage/Carport                   2 Attached                3 Attached             S       2 Attached              E       2 Attached            E
  Porch, Patio Deck, Pool, Fence    FIREPLACE                0                      E       0                       E        0                    E
  Overall Rating/Est.$                                                              S                               I
                                                             -2275                         1100                             0                     E
  Value of Adjustments
  Indicate Property Most Comparable to Subject (Check One)                                                                                ✘
  COMMENTS: 1)SUPERIOR IN GARAGE AND LOT. INFERIOR IN AGE.2)COMPARABLE IS INFERIOR IN AGE. SIMILAR
            IN GARAGE COUNT3)SIMILAR IN STYLE AND AGE. LOCATED IN SAME AREA.
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         BPOdirect Addendum

         BPOdirect Order #: 44343515       Project Code:

         FM Loan Number:                   SS Loan Number:

         Property Address: 44 MARTIN LANE, HAMILTON, NJ, 08619

         Comments:
         HTTPS://WWW.EMORTGAGELOGIC.COM/PDOCS/BDB3844105.HTML
         SUBJECT IS A 2 STORY SINGLE FAMILY DETACHED WITH 4 BEDROOMS
         AND 1.5 BATHROOMS ON A 0.35 ACRE LOT LOCATED IN HAMILTON,
         VERIFICATION DETAIL USED ARE TAX RECORD AND MLS. FEATURING 2
         CAR GARAGE ATTACHED. SUBJECT IS IN AVERAGE CONDITION AND IN
         NO NEED OF IMMEDIATE REPAIRS BASING FROM THE EXTERIOR
         INSPECTION MADE. SUBJECT RECOMMENDED PRICE IS BASED FROM
         SOLD COMPARABLE ADJUSTED VALUE. \N\N OTHER ADJUSTMENTS: CS1
         PATIO 0, CS2 DECK. PORCH 0, CS3 NONE 0, CL1 DECK 0, CL2 PATIO,
         PORCH 0, CL3 FIREPLACE 0 EXACT
         MILEAGE-SC1:41.47MI,SC2:11.45MI,SC3:32.97MI,LC1:3/4 MILES,LC2:3/4
         MILES,LC3:1.75 MILES
         ADJ-SC1:-1275LOTSIZE,-1000GAR
         ADJ-SC2:1100YRBLT
         ADJ-SC3
         ADJ-LC1
         ADJ-LC2:1400YRBLT
         ADJ-LC3
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         Comments, cont:
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         Comments, cont:
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      Order 44343515, SIDE_1.JPG
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      Order 44343515, ACROSS_STREET_1.JPG
